 8:05-cr-00254-LSC-FG3         Doc # 87      Filed: 04/11/06    Page 1 of 2 - Page ID # 287




                        UNITED STATES DISTRICT COURT FOR
                            THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )
                                                    )
                             Plaintiff,             )      8:05CR254
                                                    )
                      vs.                           )      FINAL ORDER OF
                                                    )      FORFEITURE
                                                    )
MICHAEL HAMBRIGHT,                                  )
HOLLY SMITH,                                        )
                                                    )
                             Defendants.            )


       This matter is before the Court on the United States’ Motion for Final Order of

Forfeiture and Memorandum Brief (Filing No. 86). The Court reviews the record in this

case and, being duly advised in the premises, find as follows:

       1. On November 29, 2005, the Court entered a Preliminary Order of Forfeiture

pursuant to the provisions of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)

and 853, based upon the Defendants’ pleas of guilty to Counts I and II of the Informations

filed herein. By way of said Preliminary Order of Forfeiture, the Defendants’ interest in

$2,305.00 and $283.00 in United States currency was forfeited to the United States..

       2. On February 23, March 2 and 9, 2006, the United States Bureau of Alcohol,

Tobacco and Firearms published in a newspaper of general circulation notice of this

forfeiture and of the intent of the United States Bureau of Alcohol, Tobacco and Firearms

to dispose of the properties in accordance with the law, and further notifying all third parties

of their right to petition the Court within the stated period of time for a hearing to adjudicate

the validity of their alleged legal interest(s) in said properties. An Affidavit of Publication

was filed herein on April 10, 2006(Filing No. 85).
 8:05-cr-00254-LSC-FG3        Doc # 87     Filed: 04/11/06    Page 2 of 2 - Page ID # 288




       3. The Court has been advised by the United States no Petitions have been filed.

From a review of the Court file, the Court finds no Petitions have been filed.

       IT IS ORDERED:

       A. The Plaintiff’s Motion for Final Order of Forfeiture (Filing No. 86) is hereby

sustained.

       B. All right, title and interest in and to the subject properties, i.e., $2,305.00 and

$283.00 in United States currency, held by any person or entity, are hereby forever barred

and foreclosed.

       C. The subject properties, i.e., $2,305.00 and $283.00 in United States currency,

be, and the same hereby are, forfeited to the United States of America.

       D. The United States Bureau of Alcohol, Tobacco and Firearms is directed to

dispose of said properties in accordance with law.

       DATED this 11th day of April, 2006.


                                                  BY THE COURT:


                                                  s/Laurie Smith Camp
                                                  United States District Judge




                                             2
